   Case 1:22-mc-00027-ABJ Document 17-5 Filed 05/06/22 Page 1 of 7




       Attorney General Merrick Garland v. Peter Strzok
           In re Subpoena Served on Donald Trump
                 Case No. 1:22-mc-00027-ABJ




                   EXHIBIT F
  Selected January 22 and 23, 2018 Emails
          from Isgur to Reporters

Exhibit to Plaintiff Peter Strzok’s Notice in Response
    to the Court’s April 27, 2022 Minute Order


                          May 6, 2022
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From:        Levine, Mike [Mike.Levine@abc.com]
Sent:        1/22/2018 6:12:35 PM
To:          Flores, Sarah Isgur (OPA) [Sarah.lsgur.Flores@usdoj.gov]
Subject:     Re: Statement from the Attorney General



Gotcha. Thanks!




On Jan 22, 2018, at 6: 11 PM, Flores, Sarah Isgur (OPA) <Sarah.Isgur.Flores@usdoj .gov> wrote:

50k texts between the two

On Jan 22, 2018, at 6: 10 PM, Levine, Mike <Mike.Levine@abc.com> wrote:

Hey how's it going? I'm back from vaca!

Just to make sure ... what does the 50,000 refer to? 50,000 texts messages between Strzok and Page, or 50,000
emails, text messages and other records between all sorts of FBI personnel that were reviewed by IG for some
reason?




On Jan 22, 2018, at 5:50 PM, Flores, Sarah Isgur (OPA) <Sarah.Isgur.Flores@usdoj .gov> wrote:

[Please see attached transmittal letter that was sent on Friday to the committees]

Statement from the Attorney General:

"Six congressional committees made a request to the Department of Justice for FBI text messages between two
FBI employees from July 1, 2015 to July 28, 2017, which the Department agreed to produce as quickly as
possible. The Inspector General has been reviewing these texts based on "allegations that Department or FBI
policies or procedures were not followed ... and that certain underlying investigative decisions were based on
improper considerations." The Department of Justice agreed to produce those records as quickly as possible.
After reviewing the voluminous records on the FBI's servers, which included over 50,000 texts, the Inspector
General discovered the FBI' s system failed to retain text messages for approximately 5 months between
December 14, 2016 to May 17, 2017.

"The Department apprised the congressional committees of the missing text messages on Friday in the
transmittal letter when providing the available text messages to them. I have spoken to the Inspector General
and a review is already underway to ascertain what occurred and to determine if these records can be recovered
in any other way. If any wrongdoing were to be found to have caused this gap, appropriate legal disciplinary
action measures will be taken.

"We will leave no stone unturned to confirm with certainty why these text messages are not now available to be
produced and will use every technology available to determine whether the missing messages are recoverable
from another source. If we are successful, we will update the congressional committees immediately."



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Sarah Isgur Flores
Director of Public Affairs
202.305.5808


<20180122102454178.pdt>


Sent from my iPhone




                                                                       STRZOK_PAGE_DOJ_00003341
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From:          Flores, Sarah Isgur (OPA) [siflores@jmd.usdoj.gov]
Sent:          1/22/2018 6:02:11 PM
To:            chuck@dailycaller.com
Subject:       Fwd: Statement from the Attorney General
Attachments:   20180122102454178.pdf; ATT0000l.htm




[Please see attached transmittal letter that was sent on Friday to the committees]

Statement from the Attorney General:

"Six congressional committees made a request to the Department of Justice for FBI text messages between two
FBI employees from July 1, 2015 to July 28, 2017, which the Department agreed to produce as quickly as
possible. The Inspector General has been reviewing these texts based on "allegations that Department or FBI
policies or procedures were not followed ... and that certain underlying investigative decisions were based on
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Sarah Isgur Flores
Director of Public Affairs
202.305.5808




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From:          Flores, Sarah Isgur (OPA) [siflores@jmd.usdoj.gov]
Sent:          1/22/2018 8:10:10 PM
To:            kwong@breitbart.com
Subject:       Fwd: Statement from the Attorney General
Attachments:   20180122102454178.pdf; ATT0000l.htm




[Please see attached transmittal letter that was sent on Friday to the committees]

Statement from the Attorney General:

"Six congressional committees made a request to the Department of Justice for FBI text messages between two
FBI employees from July 1, 2015 to July 28, 2017, which the Department agreed to produce as quickly as
possible. The Inspector General has been reviewing these texts based on "allegations that Department or FBI
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improper considerations." The Department of Justice agreed to produce those records as quickly as possible.
After reviewing the voluminous records on the FBI's servers, which included over 50,000 texts, the Inspector
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Sarah Isgur Flores
Director of Public Affairs
202.305.5808




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From:          Flores, Sarah Isgur (OPA) [siflores@jmd.usdoj.gov]
Sent:          1/23/2018 1:49:34 PM
To:            Sarah.N.Lynch@thomsonreuters.com; lisa.lambert@thomsonreuters.com
CC:            Mohammad.Zargham@thomsonreuters.com
Subject:       RE: Seeking comment on missing texts


Weird-should have gone to you. Sorry

Statement from the Attorney General:


"Six congressional committees made a request to the Department of Justice for FBI text messages between two FBI
employees from July 1, 2015 to July 28, 2017, which the Department agreed to produce as quickly as possible. The
Inspector General has been reviewing these texts based on "allegations that Department or FBI policies or procedures
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underway to ascertain what occurred and to determine if these records can be recovered in any other way. If any
wrongdoing were to be found to have caused this gap, appropriate legal disciplinary action measures will be taken.


"We will leave no stone unturned to confirm with certainty why these text messages are not now available to be
produced and will use every technology available to determine whether the missing messages are recoverable from
another source. If we are successful, we will update the congressional committees immediately."




***
Sarah Isgur Flores
Director of Public Affairs
202.305.5808


From: Sarah.N.Lynch@thomsonreuters.com [mailto:Sarah.N.Lynch@thomsonreuters.com]
Sent: Tuesday, January 23, 2018 1:48 PM
To: Flores, Sarah Isgur (OPA) <siflores@jmd.usdoj.gov>; lisa.lambert@thomsonreuters.com
Cc: Mo ham mad.Zargham@thomsonreuters.com
Subject: RE: Seeking comment on missing texts

Actually I don't think I ever received it

Correspondent on Criminal Justice
Thomson Reuters
1333 H Street NW Suite 600
Washington DC 20005
Office: 202 354 5831
Cell/Signal/WhatsApp: 202 579 0289
Justice Department Number: 202-898-8396




                                                                                            STRZOK_PAGE_DOJ_00003378
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sarah.n.lynch@tr.com
Follow me on Twitter @sarahnlynch
Investigative tips always welcome ....


From: Flores, Sarah Isgur (OPA) [ mailto:Sarah.Isgur.Flores@usdoj.gov]
Sent: Tuesday, January 23, 2018 1:47 PM
To: Lambert, Lisa C. (Reuters)
Cc: Zargham, Mohammad (Reuters); Lynch, Sarah N. (Reuters)
Subject: RE: Seeking comment on missing texts

Id point you to the statement from the AG last night that Sarah has

***
Sarah Isgur Flores
Director of Public Affairs
202.305.5808


From: lisa.lambert@thomsonreuters.com [mailto:lisa.lambert@thomsonreuters.com]
Sent: Tuesday, January 23, 2018 1:45 PM
To: Flores, Sarah Isgur (OPA) <siflores@jmd.usdoj.gov>
Cc: Mohammad.Zargham@thomsonreuters.com; Sarah.N.Lynch@thomsonreuters.com
Subject: Seeking comment on missing texts


Hi Sarah, Would you please confirm or comment on Chairman Goodlatte's announcement today on Fox that AG Sessions
has ordered an investigation into the FBI texts? Please reply all and thanks.

U.S. ATTORNEY GENERAL ORDERS INVESTIGATION OF TEXTS EXCHANGED BETWEEN FBI OFFICIALS ACCUSED OF
ANTI-TRUMPBIAS - HOUSEJUDICIARYCHAIRMANGOODLATTE

Lisa Lambert
Correspondent

Reuters

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Washington, DC 20005
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lisa.lambert@thomsonreuters.com
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@reuterslambert




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